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                       IN THE UNITED STATES DISTRICT COURT
                      FOR THE NORTHERN DISTRICT OF ILLINOIS
                                 EASTERN DIVISION

 Pure Body Logistics, Inc.   )
                             )                         Case No. 1: 23-cv- 15811
 v.                          )
                             )                        Judge: Hon. John F. Kness
 THE PARTNERSHIPS and        )
 UNINCORPORATED ASSOCIATIONS )                        Magistrate: Hon. John F. Kness
IDENTIFIED ON SCHEDULE A     )
                             )


                                       Voluntary Dismissal

       Pursuant to Rule 41(a)(1)(A)(i) of the Federal Rules of Civil Procedure, the undersigned

counsel for Plaintiff hereby notify this Court that the Plaintiff voluntarily dismiss any and all

claims against the following defendants without prejudice:

 Doe    Store                              Merchant ID
 321    Joint Gou                          A2DM4OPD7JQ9DN
 335    WskLinft                           AYGHJ768WW868
 441    jielua7                            jielua7
 481    wiseproductstl_2015                wiseproductstl_2015
 527    liwenhao6686                       5db2c01b5bd21e11d4285db4


Dated: February 27, 2024                              Respectfully submitted,

                                               By:     s/David Gulbransen/
                                                      David Gulbransen
                                                      Attorney of Record

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